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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 23-80101-CR-CANNON-REINHART

  UNITED STATES OF AMERICA

                 Plaintiff,

  vs.

  DONALD J. TRUMP and
  WALTINE NAUTA,

              Defendants.
  ______________________________/



        GOVERNMENT’S RESPONSE TO THE STANDING DISCOVERY ORDER

         The United States of America, by and through the Special Counsel’s Office, in response to

  the Standing Discovery Order issued in this case, files this response. This response also complies

  with Local Rule 88.10 and Federal Rule of Criminal Procedure 16.

         On June 21, 2023, per the protective order issued in this case (ECF No. 27), the government
                                                1
  provided to Defendant Donald J. Trump             its first production of unclassified discovery

  (“Production 1”). The production was made available in three parts. The first part includes, inter

  alia, documents obtained via subpoena; evidence obtained via search warrants; transcripts of grand

  jury testimony taken before a grand jury in the District of Columbia and transcripts of grand jury

  testimony taken before a grand jury in the Southern District of Florida; and memorialization of

  witness interviews conducted through May 12, 2023. As we have informed counsel, it is the




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    Defendant Nauta has not yet been arraigned, and counsel for Defendant Nauta has not yet
  entered an appearance. The government will provide the discovery production to counsel for
  Defendant Nauta promptly once an appearance is entered.
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  government’s intent to disclose promptly all witness statements and associated memorialization of

  those statements, even if they would not be deemed discoverable under 18 U.S.C. § 3500. The

  second part includes a reproduction of “key” documents and photographs included in Production

  1 that are referenced in the Indictment and others determined by the government to be pertinent to

  the case. The third part consists of complete copies of closed-circuit television (CCTV) footage

  obtained by the government in its investigation. To facilitate review, the government also

  identified and separately produced for the defense “key” excerpts from the CCTV footage,

  including excerpts referenced in the Indictment or otherwise determined by the government to be

  pertinent to the case. The government responds to the specific items identified in the standard

  discovery order as set forth below.

         A.     1.      Production 1 includes a copy of any written or recorded statements made by
                        the defendants. These statements include the following:

                           Interviews of Defendant Trump conducted by non-government entities,
                            which were recorded with his consent and obtained by the Special
                            Counsel’s Office during the investigation of this case, including the July
                            21, 2021 recorded interview Defendant Trump provided to a publisher
                            and writer quoted in part in the Indictment;

                           Public statements made by Defendant Trump, including the public
                            statements quoted in the Indictment;

                           The May 26, 2022 FBI interview of Defendant Nauta, which is quoted
                            in the Indictment; and

                           The June 21, 2022 grand jury testimony of Defendant Nauta.

                2.      Other than the two statements of Defendant Nauta identified in paragraph
                        A.1, there are no relevant oral statements made by either defendant before
                        or after arrest in response to interrogation by any person then known to the
                        defendants to be a government agent that the government intends to use at
                        trial.




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             3.      Defendant Trump has not testified before a grand jury. On June 21, 2022,
                     Defendant Nauta testified before a grand jury sitting in the District of
                     Columbia. Production 1 includes a transcript of his testimony.

             4.      The government provided Defendant Trump’s and Defendant Nauta’s
                     NCIC records.

             5.      Defense counsel can contact the government to arrange for inspection of
                     unclassified items seized at Mar-a-Lago on August 8, 2022. The
                     government is not currently aware of any other unclassified books, papers,
                     documents, data, photographs, tangible objects, buildings or places, within
                     the government’s possession, custody or control, which are material to the
                     preparation of the defense, or which the government intends to use as
                     evidence at trial to prove its case in chief, or which were obtained from or
                     belong to either defendant, that are not being or will not be provided to the
                     defense. To the extent the government learns of any such items that will not
                     be provided but will instead be made available for inspection, it will inform
                     the defense so that they may be inspected at a mutually convenient time.
                     There will be additional productions of discovery, and Production 1 does
                     not necessarily include copies of all books, papers, documents, and other
                     evidence that the government may intend to introduce at trial.

             6.      There were no physical or mental examinations of the defendants or
                     scientific tests or experiments made in connection with this case.

        B.   DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the
             disclosure and production of those items described and listed in paragraph B of the
             Standing Discovery Order, and as provided by Federal Rule of Criminal Procedure
             16(b).

        C.   The government is providing information or material known to the United States
             that may be favorable to either defendant on the issues of guilt or punishment within
             the scope of Brady v. Maryland, 373 U.S. 83 (1963), or United States v. Agurs, 427
             U.S. 97 (1976).

        D.   The government will disclose any payments, promises of immunity, leniency,
             preferential treatment, or other inducements made to prospective government
             witnesses, within the scope of Giglio v. United States, 405 U.S. 150 (1972), or
             Napue v. Illinois, 360 U.S. 264 (1959).

        E.   The government will disclose any prior convictions of any alleged co-conspirator,
             accomplice, or informant who will testify for the government at trial.

        F.   The defendants were not identified in any sort of traditional lineups, show ups, or
             photo spreads. To the extent that the defendants’ photos were shown to witnesses


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                to confirm a witness’s familiarity with the defendant(s), that has been noted in the
                reports provided, along with the accompanying photos that were shown.

         G.     The government has advised its agents and officers involved in this case to preserve
                all rough notes.

         H.     The government will timely advise the defendants of its intent, if any, to introduce
                at trial extrinsic act evidence pursuant to F.R.E. 404(b). Pursuant to Local Rule
                88.10, the notice will be provided regardless of whether the evidence may be used
                in the case-in-chief, for impeachment or possible rebuttal, and will include the
                general nature of the evidence.

                You are hereby on notice that all evidence made available to you for inspection, as
                well as all statements disclosed herein or in any future discovery letter, may be
                offered in the trial of this case, under F.R.E. 404(b) or otherwise (including the
                inextricably-intertwined doctrine).

         I.     The defendants are not aggrieved persons, as defined in Title 18, United States
                Code, Section 2510(11), of any relevant electronic surveillance that was authorized
                pursuant to 18 U.S.C. §2516 and 18 U.S.C §2518 and that has been unsealed in
                accordance with 18 U.S.C §2518.

         J.     Production 1 includes the grand jury testimony of witnesses who will testify for the
                government at the trial of this case.

         K.     The government did not seize from either defendant any contraband that could be
                chemically analyzed.

         L.     The government does not know of any automobile, vessel, or aircraft allegedly used
                in the commission of this offense that is currently in the government’s possession.

         M.     The government is not aware of any latent fingerprints or palm prints that have been
                identified by a government expert as those of either defendant.

         N.     To date, the government has not received a request for disclosure of the
                subject-matter of expert testimony that the government reasonably expects to offer
                at trial.

         O.     The government will make every possible effort in good faith to stipulate to all facts
                or points of law the truth and existence of which is not contested and the early
                resolution of which will expedite trial.

         The government is aware of its continuing duty to disclose such newly discovered

  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules



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  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

         In addition to the request made above by the government pursuant to both Section B of the

  Standing Discovery Order and Rule 16(b) of the Federal Rules of Criminal Procedure, in

  accordance with Rule 12.1 of the Federal Rules of Criminal Procedure, the government hereby

  demands Notice of Alibi defense; the approximate time, date, and place of the offense is set forth

  in the Indictment.


                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel

                                        By:     /s/ Jay I. Bratt_____________
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 21, 2023, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record via transmission of Notices of Electronic Filing generated

  by CM/ECF.

                                                       s/ Julie A. Edelstein
                                                       Julie A. Edelstein
                                                       Senior Assistant Special Counsel




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